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                             UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION


                                                         )
    UNITED STATES COMMODITY FUTURES                      )
    TRADING COMMISSION,                                  )
                                                         )   Case No. 1:12-cv-07127
                             Plaintiff,                  )
    v.                                                   )
                                                         )   Hon. Edmond E. Chang
    NIKOLAI SIMON BATTOO; BC CAPITAL                     )
    GROUP S.A.; BC CAPITAL GROUP                         )
    INTERNATIONAL LIMITED a/k/a BC                       )
    CAPITAL GROUP LIMITED a/k/a BC                       )
    CAPITAL GROUP GLOBAL; BC CAPITAL                     )
    MANAGEMENT LLP; AND BC CAPITAL                       )
    GROUP HOLDINGS S.A.,                                 )
                                                         )
                             Defendants.                 )
                                                         )

                         REQUEST FOR CLERK’S ENTRY OF DEFAULT

            Pursuant to Rule 55(a) of the Federal Rules of Civil Procedure, Plaintiff U.S. Commodity

Futures Trading Commission (“Commission”) hereby requests an entry of default against

defendants Nikolai Simon Battoo, BC Capital Group S.A., BC Capital Group International

Limited a/k/a BC Capital Group Limited a/k/a BC Capital Group Global, BC Capital

Management LLP and BC Capital Group Holdings S.A. (collectively, “Defendants”). In support

of this request, the Commission states the following:

            1.     On September 6, 2012, the Commission filed its Complaint against Defendants

alleging violations of certain antifraud provisions of the Commodity Exchange Act, 7 U.S.C. §§1

et seq. (the “Act”). (Dkt. No. 1.)

            2.     On May 16, 2013, the Commission filed its motion to deem service effectuated

(“Motion”). (Dkt. No. 144.)

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       3.      On June 3, 2013, the Court granted the Motion and held that Defendants were

properly served with the Commission’s Complaint and Summonses on March 27, 2013. (Dkt.

No. 147.) Therefore, Defendants’ answers or responsive pleadings to the Complaint were due on

April 17, 2013. (Id.)

       4.      As of the date of this filing, Defendants have failed to answer or otherwise defend

as instructed by the Summonses and as provided by the Federal Rules of Civil Procedure.

       WHEREFORE, the Commission respectfully requests an entry of default against

Defendants in accordance with Fed. R. Civ. P. 55(a).



Date: June 10, 2013                          Respectfully submitted,


                                             /s/ Amanda L. Harding

                                             Amanda L. Harding (Illinois Bar No. 6299967)
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                                   CERTIFICATE OF SERVICE

        I, the undersigned attorney, hereby certify that a true and correct copy of the foregoing
REQUEST FOR CLERK’S ENTRY OF DEFAULT was served electronically on the entities
specified in the Notice of Electronic Filing to be issued by the electronic case filing system as well
as to Mr. Phillip L. Stern, Esq. and Mr. Nicola L. Zagarolo, Esq. via email on this 10th day of
June, 2013.


                                               /s/ Amanda L. Harding
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